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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

            – v. –                                     S1 23 Cr. 340 (VM)

 SHAKEEB AHMED,

                       Defendant.




                THE GOVERNMENT’S SENTENCING MEMORANDUM
                   REGARDING DEFENDANT SHAKEEB AHMED




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UNITED STATES DISTRICT COURT
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             – v. –                                              S1 23 Cr. 340 (VM)

 SHAKEEB AHMED,

                        Defendant.


                      GOVERNMENT’S SENTENCING MEMORANDUM
                       REGARDING DEFENDANT SHAKEEB AHMED

       The Government respectfully submits this memorandum in advance of the sentencing of

defendant Shakeeb Ahmed, currently scheduled for Friday, April 12, 2024, at 10:00 a.m. As set

forth in the Presentence Investigation Report (“PSR”) and in the parties’ plea agreement, the

defendant’s applicable sentencing range would otherwise be 70 to 87 months’ imprisonment but,

pursuant to U.S.S.G. § 5G1.1(a), because the statutory maximum sentence is 60 months, the

Guidelines sentence is 60 months (the “Stipulated Guidelines Sentence”).             For the reasons

explained below, the Government submits that, after balancing Ahmed’s acceptance of

responsibility in admitting to both of his hacks and surrendering his crime proceeds, against,

among other factors, the seriousness of his offense conduct, the significant damage that he inflicted

on his victims, and the critical need to achieve general deterrence in this precedential, first-of-its-

kind conviction for the hack of a smart contract, a slightly below Guidelines variance sentence of

48 months would be sufficient but not greater than necessary to meet the goals of sentencing.
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(PSR ¶ 8). After the Attack, Ahmed also searched online for information about, among other

things, the Attack, his own criminal liability for the Attack, criminal defense attorneys with

expertise in similar cases, law enforcement’s ability to successfully investigate the Attack, and

fleeing the United States to avoid criminal charges. (PSR ¶ 9).

       After the Attack and once in possession of the stolen fees in cryptocurrency, Ahmed

decided to return a substantial portion of the fraud proceeds to the Crypto Exchange, and to provide

information to the Crypto Exchange about how he accomplished the Attack, if the Crypto

Exchange refrained from referring his fraudulent scheme to law enforcement. Ahmed ultimately

kept approximately $1.5 million worth of fraudulently obtained cryptocurrency from the Crypto

Exchange. (PSR ¶ 10).

                               Background on the Crypto Exchange

       The Crypto Exchange was incorporated in the Asia-Pacific region and operates on the

Solana blockchain. At all relevant times, the Crypto Exchange was a decentralized exchange that

allowed users to deposit and exchange different kinds of cryptocurrencies. A decentralized

exchange does not rely on any sort of entity or company to act as an intermediary between buyers

and sellers. Instead, it relies on “smart contracts” associated with “liquidity pools,” analogous to

pots of money, in order to serve as an “automated market maker.” A “smart contract” is a computer

program that runs on a blockchain. An “automated market maker” controls a “liquidity pool” of

different types of cryptocurrencies, and uses a smart contract to buy and sell the cryptocurrencies

in that liquidity pool. (PSR ¶ 11).

       Specifically, the Crypto Exchange was a concentrated liquidity market maker, meaning

that it allowed individuals or entities depositing cryptocurrency into its liquidity pools—referred


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to as “liquidity providers”—to set the price ranges—referred to as “ticks”—at which the

individuals’ cryptocurrency in the liquidity pool would be traded. For example, an individual who

deposits 100 Ether into the concentrated liquidity market maker’s liquidity pool can control the

range at which the 100 Ether is offered for liquidity, so the individual might, for example, provide

the 100 Ether subject to the limitation that it only be traded when the price is between 0.9 and 1.1

Bitcoin. In this example, the liquidity provider would profit by receiving a percentage of the

transaction fees generated if the specified price range was triggered. In this example, 0.9 Bitcoin

would be the lower tick, and 1.1 Bitcoin would be the upper tick. (PSR ¶ 12).

       At all relevant times, the Crypto Exchange paid fees to liquidity providers who deposited

cryptocurrency into a liquidity pool. Those fees were calculated by a smart contract that took into

account, among other things, the total amount of cryptocurrency the liquidity provider deposited

and the actual amount of liquidity that was provided based on the price ranges selected by the

liquidity provider. In essence, the greater the amount of cryptocurrency and liquidity provided,

the higher the fee the liquidity provider could earn. More broadly, larger cryptocurrency deposits

on the Crypto Exchange limit price volatility and increase liquidity. (PSR ¶ 13).

       One of the inputs into the smart contract that calculated those fees was referred to as a “tick

account.” The tick accounts were owned and controlled by the Crypto Exchange—in other words,

the blockchain showed that the owner of the tick accounts was the Crypto Exchange, and not any

user or other third party. The tick accounts contained data about, among other things, how much

liquidity all liquidity providers had provided for a particular price range, or tick. Users could not

create or own tick accounts. (PSR ¶ 14).




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         Another input into the smart contract that calculated the fees was referred to as a “position

account.” Position accounts kept track of a user’s share in a liquidity pool. In contrast to a tick

account, which users could not create, the Crypto Exchange was set up to allow any user to create

a “position account.” Position accounts and tick accounts contained different types of data, but

the general format of the two accounts was similar. As structured by the Crypto Exchange, both

tick accounts and position accounts were listed as owned by the Crypto Exchange on the

blockchain, even though position accounts could be created by a user. Ahmed exploited this

vulnerability during the Attack. (PSR ¶ 15).

                                The Attack on the Crypto Exchange

         To carry out the Attack, Ahmed, among other things: (a) the day before the Attack,

conducted a series of test transactions of nominal value with the Crypto Exchange to obtain tick

data and locate system vulnerabilities; (b) created at least two accounts that were not tick accounts;

(c) supplied one of these non-tick accounts with fake price-tick data; and (d) carefully structured

and designed these non-tick accounts to nonetheless falsely appear as authentic tick accounts. In

other words, Ahmed used at least two non-tick accounts that he intentionally created and designed

to masquerade as tick accounts (the “Fake Tick Accounts”) to fraudulently cause the Crypto

Exchange’s smart contract to accept them as legitimate tick accounts. As described below, Ahmed

used one such Fake Tick Account (the “First Fake Tick Account”) to generate millions of dollars

of inflated fees based on the fake price-tick data he supplied, and the other Fake Tick Account (the

“Second Fake Tick Account”) to withdraw millions of dollars’ worth of cryptocurrency. (PSR

¶ 16).




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       On July 2, 2022, Ahmed created the First Fake Tick Account and fraudulently caused the

Crypto Exchange’s smart contract to accept it as authentic. Ahmed entered fake price-tick data

into the First Fake Tick Account in order to fraudulently cause the Crypto Exchange’s smart

contract to calculate that Ahmed had provided more liquidity to the pool than he had actually

contributed, which generated large fees for Ahmed that he had not legitimately earned. In other

words, the Crypto Exchange’s users legitimately earn fees based on how much cryptocurrency

they provide to the liquidity pool in relation to pool-wide data. By entering fake price-tick data

into the First Fake Tick Account, Ahmed used fake data to make it falsely appear to the Crypto

Exchange that Ahmed had provided more liquidity to the pool than he actually had, and thus,

Ahmed was able to fraudulently generate fees for himself to which he was not entitled. In so

doing, Ahmed defrauded both the Crypto Exchange and its users. (PSR ¶ 17).

       To further the Attack, Ahmed took out a series of cryptocurrency “flash loans” worth tens

of millions of dollars from a cryptocurrency lending platform (the “Crypto Lender”). A “flash

loan” is an uncollateralized cryptocurrency loan without borrowing limits that is taken out and

repaid in a single transaction, and can be used in situations where an individual sees an opportunity

to immediately profit on the blockchain. (PSR ¶ 18).

       Over a period of several hours on July 2 and 3, 2022, Ahmed deposited the funds from the

flash loans into the Crypto Exchange’s liquidity pools, withdrew the funds, claimed a falsely

inflated percentage of the flash loans as fees from the Crypto Exchange through his deceptive use

of the First Fake Tick Account, and then repaid the flash loans to the Crypto Lender. In total, as

part of the Attack, Ahmed took out at least 21 flash loans from the Crypto Lender and used to them




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to generate falsely inflated fees from five separate liquidity pools controlled by the Crypto

Exchange. (PSR ¶ 19).

          As part of the Attack, Ahmed also needed to withdraw the flash loan money that he had

deposited into the liquidity pool—the principal—and return it to the Crypto Lender. In order to

process a withdrawal of the principal, the Crypto Exchange’s smart contract required a tick account

that was listed as owned by the Crypto Exchange on the blockchain, and that contained data

matching the tick data from the fee-claiming process. To satisfy this requirement, Ahmed created

the Second Fake Tick Account, a position account—listed as owned by the Crypto Exchange—

and manipulated its data to closely resemble a tick account. Specifically, Ahmed made a series of

cryptocurrency deposits in specific amounts and in a specific order, in order to manipulate the data

in the Second Fake Tick Account so that it contained data that matched certain of the data in the

First Fake Tick Account. By doing this, Ahmed was able to fraudulently cause the Crypto

Exchange’s smart contract to treat Ahmed’s position account—the Second Fake Tick Account—

as a legitimate tick account. Ahmed then used the Second Fake Tick Account to withdraw the

principal he owed and returned it to the Crypto Lender. (PSR ¶ 20).

          An example of how Ahmed used the Fake Tick Accounts and one of the flash loans to

defraud the Crypto Exchange is described below. Because each flash loan must be taken out and

repaid as part of a single transaction on the blockchain, each of the following events together

occurred as a single transaction conducted by Ahmed:

                 a.     On July 2, 2022, Ahmed took out a flash loan from the Crypto Lender of

approximately 840,000 PAI (Parrot) (“PAI”). PAI is a digital stablecoin worth approximately one

dollar.


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               b.      Ahmed deposited the approximately 840,000 PAI into a liquidity pool

(“Pool-1”) controlled by the Crypto Exchange that covered exchanges between PAI and a second

cryptocurrency: USDC (USD Coin) (“USDC”). Like PAI, USDC is a digital stablecoin worth

approximately one dollar.

               c.      Ahmed used the First Fake Tick Account, which contained fake price-tick

data supplied by Ahmed, to claim inflated fees of approximately 1,133.93 PAI and 120.14 USDC.

               d.      Ahmed then used the Second Fake Tick Account to withdraw his principal

of 840,000 PAI.

               e.      Ahmed repeated the cycle four more times with the same flash loan. Each

time, he redeposited the 840,000 PAI into Pool-1, claimed inflated fees of approximately 1,133.93

PAI and 120.14 USDC through his use of the First Fake Tick Account, and withdrew his principal

of 840,000 PAI through his use of the Second Fake Tick Account.

               f.      After five cycles, Ahmed returned the principal of 840,000 PAI to the

Crypto Lender, plus a small fee to the Crypto Lender, and kept falsely inflated fees from the Crypto

Exchange totaling approximately 5,669.65 PAI and 600.7 USDC. (PSR ¶ 21).

       Based on approximate U.S. dollar conversions of the cryptocurrency valuations at the time

(around July 2, 2022), Ahmed ultimately claimed approximately $9 million in cryptocurrency as

falsely inflated fees from 21 flash loans based on the falsified data in the First and Second Fake

Tick Accounts. (PSR ¶ 22). After the Attack, the Crypto Exchange initiated a plan to compensate

the users Ahmed had victimized. (PSR ¶ 23).




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                          Ahmed’s Post-Attack Laundering of Stolen Fees

       After Ahmed fraudulently obtained inflated cryptocurrency fees in the Attack, he laundered

the fraud proceeds through a series of transactions in order to conceal the nature, location, source,

and his control of the stolen funds. Ahmed engaged in the following laundering transactions,

among others:

                a.       In July 2022, after the Attack, Ahmed conducted dozens of transactions

exchanging one cryptocurrency token for another.

                b.       In July 2022, after the Attack, Ahmed “bridged” fraud proceeds across one

blockchain over to another. A bridge contract is a mechanism to transfer cryptocurrency from one

blockchain to another.

                c.       In July 2022, after the Attack, Ahmed laundered fraud proceeds through a

swap aggregator to other wallets on the Solana blockchain. Swap aggregators aggregate liquidity

from across different decentralized exchanges to work out more favorable crypto prices for

decentralized exchange traders.

                d.       On November 5, 2022, Ahmed exchanged fraud proceeds into the

cryptocurrency Monero, an anonymized and particularly difficult cryptocurrency to trace.

                e.       In May 2023, Ahmed laundered fraud proceeds through overseas

cryptocurrency exchanges. (PSR ¶ 24).

                     Post-Attack Communications With the Crypto Exchange

       On July 3, 2022, almost immediately after the Attack, the Crypto Exchange initiated public

communications on the blockchain with the unidentified “hacker” of the Crypto Exchange (in


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actuality, Ahmed) in order to seek the return of the stolen funds. In these public statements on the

blockchain, the Crypto Exchange indicated, among other things, that it would refer the Attack to

law enforcement if the stolen funds were not returned and offered to pay the then-unidentified

hacker $800,000 for the return of all the stolen funds. (PSR ¶ 25).

       On July 6, 2022, a few days after the Attack, Ahmed, using an encrypted email service

based overseas, contacted the Crypto Exchange and stated that he would return a portion of the

stolen funds if the Crypto Exchange agreed not to refer the Attack to law enforcement for

investigation. At the time, Ahmed was in possession of approximately $9 million in stolen funds.

Specifically, Ahmed told the Crypto Exchange that it was in a “tough spot” and stated that he

would keep approximately $2.5 million of stolen cryptocurrency, noting that he would return of

the remainder of the stolen funds to the Crypto Exchange on the condition that it not refer his

conduct to law enforcement. (PSR ¶ 26).

       In response, also on July 6, 2022, the Crypto Exchange restated its original figure of

$800,000, noting that it was “starting to apply for legal support and in that case it wouldn’t take

long to find you” and “[o]therwise, you may face prosecution and likely lose everything.” (PSR ¶

27).

       On July 7, 2022, Ahmed indicated that he intended to keep $1.8 million of the stolen

cryptocurrency and stated, for the first time, that he would provide, in substance and in part, details

on two purported vulnerabilities in the Crypto Exchange’s platform and how to improve the Crypto

Exchange’s code. In doing so, Ahmed told the Crypto Exchange that its post-Attack predicament

was a “nightmare scenario.” Later that same day, Ahmed returned all but approximately $1.5

million of the fraudulently obtained cryptocurrency to the Crypto Exchange. The next day, on


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July 8, 2022, Ahmed provided information about the Crypto Exchange’s technical vulnerabilities.

(PSR ¶ 28).

                               Ahmed’s Post-Attack Internet History

         On July 5, 2022, just two days after the Attack and before he had communicated with the

Crypto Exchange, Ahmed visited or searched for information about the Attack itself on the

internet. For example:

                a.      Ahmed searched for the term “defi hack.”

                b.      Ahmed visited a news article with the title, “[Crypto Exchange]

Vulnerability Causes DeFi Clients to Lose Millions.”

                c.      Ahmed visited a news article with the title, “Why Expensive Crypto Hacks

Are The Cost of Doing Business in DeFi.”

                d.      Ahmed also visited several pages on the Crypto Exchange’s website. (PSR

¶ 29).

         On July 5, 2022, still before he had communicated with the Crypto Exchange, Ahmed

visited a news article describing a $10 million bounty that a cryptocurrency bridging platform had

paid. That same day, Ahmed visited or searched for information about white-collar criminal

defense attorneys with expertise in cryptocurrency. (PSR ¶ 30).

         Ahmed used a particular virtual private network (“VPN-1”) to conceal his Internet Protocol

address while he executed the Attack. On July 27, 2022, and continuing into August 2022, Ahmed

visited or searched for information in an attempt to confirm that VPN-1 could not be traced back

to him. From July 2022 through December 2022, Ahmed visited or searched for information about

whether he was likely to be prosecuted for the Attack. In particular:


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                 a.     On July 5, 2022, still before he had communicated with the Crypto

Exchange, Ahmed searched for the term “embezzled.”

                 b.     On August 6, 2022, Ahmed searched for the term “defi hacks fbi.”

                 c.     On August 8, 2022, Ahmed searched for the term “defi hacks prosecution.”

                 d.     On August 16, 2022, Ahmed searched for “wire fraud,” which is one of the

charges in this Indictment.

                 e.     On August 16, 2022, Ahmed searched for the term “how to prove malicious

intent.”

                 f.     On August 20, 2022, Ahmed searched for the term “evidence laundering.”

(PSR ¶ 31).

           From August 2022 through December 2022, Ahmed visited or searched for information

about his ability to flee the United States, avoid extradition, and keep his stolen cryptocurrency.

For example:

                 a.     On August 22, 2022, Ahmed searched for the term, “can I cross border with

crypto.”

                 b.     On September 7, 2022, Ahmed searched for the terms, “how to stop federal

government from seizing assets” and “how to stop fed govt from seizing assets.”

                 c.     On October 27, 2022, Ahmed searched for the term, “buying citizenship”

and visited related websites including: “16 Countries Where Your Investments Can Buy

Citizenship . . . .” (PSR ¶ 32).




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                Ahmed’s Attack on Nirvana Finance, a Second Crypto Exchange

       While negotiating a guilty plea to his hack of the Crypto Exchange, Ahmed voluntarily

disclosed to the Government and accepted responsibility for a second significant hack he had

committed.

       In July 2022, Ahmed, facilitating a similar modus operandi that exploited the Crypto

Exchange, defrauded Nirvana Finance (“Nirvana”), a decentralized exchange incorporated in the

Caribbean region that trades its own digital cryptocurrency, ANA, which operates on the Solana

blockchain. At all relevant times, Nirvana allowed users to deposit and exchange ANA and other

kinds of cryptocurrencies. Nirvana was designed so that when a user purchased a substantial

quantity of ANA, the price of ANA increased, and when a user sold a substantial quantity of ANA,

the price of ANA decreased. (PSR ¶ 33).

       On July 28, 2022, Ahmed schemed to defraud Nirvana by executing a hack in which he

used a flash loan of approximately $10 million to access Nirvana’s liquidity pools. Ahmed

exploited a vulnerability in Nirvana’s platform and used smart contracts to purchase ANA at its

initial, low price, rather than at a higher price that Nirvana had designed to charge a user like

Ahmed, who was acquiring a large amount of ANA. After the price of ANA was updated to reflect

Ahmed’s acquisition, he resold his ANA at a new, higher price, resulting in a profit of

approximately $3,600,000 in cryptocurrency. Afterwards, Ahmed paid-off the flash loan. (PSR ¶

34).

       Following the attack on Nirvana, Nirvana offered a “bug bounty” of up to $600,000 for the

return of the fraudulently acquired cryptocurrency.     Ahmed demanded a “bug bounty” of

$1,400,000, to which Nirvana declined. Instead, Ahmed kept all the stolen funds. Following the


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July 28, 2022 attack on Nirvana, Ahmed engaged in a sophisticated series of cryptocurrency

transactions to launder his stolen funds derived from Nirvana, including through cryptocurrency

mixers such as Samourai Whirlpool. (PSR ¶ 35).

       The approximately $3,600,000 worth of stolen cryptocurrency derived from the July 28,

2022 attack on Nirvana represented nearly all of the funds possessed by Nirvana. As a result,

Nirvana shut down all operations shortly after Ahmed’s attack on the exchange. (PSR ¶ 36).

       B. Ahmed’s Indictment, Guilty Plea, the Guidelines Calculation, and the PSR

       On July 10, 2023, a grand jury sitting in this District returned a two-count indictment

charging Ahmed with wire fraud and money laundering in connection with his hack of the Crypto

Exchange. While negotiating a guilty plea to his hack of the Crypto Exchange, Ahmed, through

counsel, voluntarily disclosed to the Government and accepted responsibility for a second

significant hack he had committed, the Nirvana hack.

       On December 14, 2023, Ahmed pleaded guilty, pursuant to a plea agreement, to Count One

of the S1 Superseding Information, S1 23 Cr. 340 (VM), which charged him with accessing a

protected computer without authorization in furtherance of fraud, in violation of Title 18, United

States Code, Sections 1030(a)(4), 1030(c)(3)(A), and 2. The next day, the Court accepted the

guilty plea. (Dkt. 30). As part of the plea agreement, Ahmed agreed to forfeit to the United States

all right, title, and interest in his crime proceeds—the stolen cryptocurrency he had fraudulently

obtained from his hack of the Crypto Exchange and Nirvana— namely, (a) cryptocurrencies in the

amounts of approximately 2,604,731 DAI, 5,513.838 XMR, 23.663 BTC, 15.912 Wrapped BTC,

300,192 USDC, 6.221425 ETH, and 8.8452 SOL; and (b) cryptocurrencies in the amount of 40.26

XMR, which were seized by the Government on or about July 11, 2023.


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       The plea agreement sets forth the following calculation of the offense level under the

United States Sentencing Guidelines (the “Guidelines”):

       (1) A base offense level of six pursuant to U.S.S.G. § 2B1.1(a)(2);
       (2) A 20-level increase, pursuant to U.S.S.G. § 2B1.1(b)(1)(K), because the loss amount
           was more than $9,500,000 but less than $25,000,000;
       (3) A two-level increase, pursuant to U.S.S.G. § 2B1.1(b)(2)(A)(iii), because the offense
           resulted in substantial financial hardship to one or more victims;
       (4) A two-level increase, pursuant to U.S.S.G. § 2B1.1(b)(10)(C), because the offense
           involved sophisticated means and Ahmed intentionally engaged in or caused the
           conduct constituting sophisticated means; and
       (5) A three-level decrease, pursuant to U.S.S.G. § 3E1.1(a) and (b), for acceptance of
           responsibility.

       Thus, the applicable Guidelines offense level is 27 and the Criminal History Category is I.

Ahmed’s sentencing range would otherwise be 70 to 87 months’ imprisonment but, pursuant to

U.S.S.G. § 5G1.1(a), because the statutory maximum sentence is 60 months, the Stipulated

Guidelines Sentence is 60 months. The PSR contains the same Guidelines calculation as that set

forth in the plea agreement. (PSR ¶¶ 52-68, p. 34). 2

       The Probation Office, which did not have the benefit of the Crypto Exchange’s victim

impact statement, (PSR ¶ 48), recommends a downward variance sentence of 24 months’

imprisonment. PSR at 34.




2
  The Government is not seeking a fine in light of the sworn financial information provided by
Ahmed. The Court previously entered a consent preliminary order of forfeiture against Ahmed.
(Dkt. 34). Consistent with the parties’ plea agreement and the PSR, the Government will submit
a proposed restitution order for $5,071,074.23, with $1,500,000 paid to the Crypto Exchange and
$3,571,074.23 paid to Nirvana, around the time of sentencing. (PSR ¶ 40).

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                                       II.    DISCUSSION
       A. Applicable Law

       As the Court is aware, the Guidelines still provide important guidance to the Court

following United States v. Booker, 543 U.S. 220 (2005), and United States v. Crosby, 397 F.3d

103 (2d Cir. 2005). Indeed, although Booker held that the Guidelines are no longer mandatory, it

also held that they remain in place and that district courts must “consult” the Guidelines and “take

them into account” when sentencing. Booker, 543 U.S. at 264. As the Supreme Court stated, “a

district court should begin all sentencing proceedings by correctly calculating the applicable

Guidelines range,” which “should be the starting point and the initial benchmark.” Gall v. United

States, 552 U.S. 38, 49 (2007).

       After that calculation, however, a sentencing judge must consider seven factors outlined in

Title 18, United States Code, Section 3553(a): (1) “the nature and circumstances of the offense

and the history and characteristics of the defendant”; (2) the four legitimate purposes of sentencing,

as set forth below; (3) “the kinds of sentences available”; (4) the Guidelines range itself; (5) any

relevant policy statement by the Sentencing Commission; (6) “the need to avoid unwarranted

sentence disparities among defendants”; and (7) “the need to provide restitution to any victims.”

18 U.S.C. § 3553(a)(1)-(7); see also Gall, 552 U.S. at 50 & n.6.

       In determining the appropriate sentence, the statute directs judges to “impose a sentence

sufficient, but not greater than necessary, to comply with the purposes” of sentencing, which are:

       (A)     to reflect the seriousness of the offense, to promote respect for the law, and to
               provide just punishment for the offense;
       (B)     to afford adequate deterrence to criminal conduct;
       (C)     to protect the public from further crimes of the defendant; and
       (D)     to provide the defendant with needed educational or vocational training, medical
               care, or other correctional treatment in the most effective manner.


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18 U.S.C. § 3553(a)(2).

       B. A Slightly Below Guidelines Variance Sentence of 48 Months Would Be Just and
          Appropriate

       The Government respectfully submits that a sentence of 48 months would be sufficient,

but not greater than necessary, to serve the purposes of sentencing. In particular, the nature and

circumstances of Ahmed’s offense and the need to provide just punishment, achieve specific and

especially general deterrence, and account for the devastating, ongoing harm to his victims, all

justify such a sentence.

       Offense conduct.      A sentence of 48 months is necessary to reflect the nature and

circumstances of the offense and to provide just punishment, particularly given the sophistication

of Ahmed’s multiple hacks and the devastation that he caused to his victims. Such a sentence also

would consider Ahmed’s full acceptance of responsibility in admitting to both of his hacks

(including affirmatively raising the Nirvana hack, with which he had not been charged, to the

Government) and surrendering the cryptocurrency he had converted his crime proceeds into.

Indeed, it is because of these factors that the Government exercised its discretion to allow Ahmed

to plead guilty to computer fraud, and not wire fraud or money laundering (with a higher statutory

maximum and potential Guidelines range than the statutory maximum and Stipulated Guidelines

Sentence that the parties agree applies), and makes the instant below-Guidelines recommendation.

       Still, it bears noting that the offense conduct is serious. Ahmed’s Attack on the Crypto

Exchange is not something he simply stumbled into. To the contrary, it required detailed planning,

as seen by his use of VPN-1 to conceal his Internet Protocol address while he executed the Attack

and the series of test transactions with the Crypto Exchange that he conducted in the lead-up to the

Attack to obtain tick data and locate system vulnerabilities. It also required technical expertise,

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which Ahmed undoubtedly possessed. And it required Ahmed’s willingness to commit outright

fraud, as Ahmed supplied one of the Crypto Exchange’s accounts with fake price-tick data and

carefully structured and designed these non-tick accounts to nonetheless falsely appear as authentic

tick accounts.    Moreover, Ahmed threatened the Crypto Exchange during his post-hack

communications, when he told the Crypto Exchange that its post-Attack predicament was a

“nightmare scenario” and sought to extract a seven-figure payment from the Crypto Exchange.

        Ahmed’s actions in carrying out the Attack on the Crypto Exchange were far from a one-

time mistake or a fleeting lapse in judgment.           After he fraudulently obtained inflated

cryptocurrency fees in the Attack, he laundered the fraud proceeds through a series of complicated

transactions to conceal the nature, location, source, and his control of the stolen funds. Ahmed

designed the scheme to evade detection and frustrate the efforts of victims and law enforcement to

identify him and trace proceeds. In this regard, after the Attack, Ahmed conducted dozens of

transactions exchanging one cryptocurrency token for another, “bridged” fraud proceeds across

one blockchain over to another, and laundered fraud proceeds through a swap aggregator to other

wallets on the Solana blockchain. Further, four months after the Attack, Ahmed kept going when

he exchanged fraud proceeds into the cryptocurrency Monero, an anonymized and particularly

difficult cryptocurrency to trace. In the months after the attack, Ahmed visited or searched for

information about his ability to flee the United States, avoid extradition, and keep his stolen

cryptocurrency. Even after that he continued the offense conduct: ten months after the Attack,

Ahmed laundered fraud proceeds through overseas cryptocurrency exchanges. Over and over,

until he was arrested about a year after the Attack, Ahmed made a conscious and deliberate choice

to continue to perpetuate his crimes.


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       And of course, he committed a second crime by defrauding Nirvana of approximately

$3,600,000 worth of stolen cryptocurrency, which represented nearly all of the funds possessed by

Nirvana. But this time, after Nirvana rejected Ahmed’s “bug bounty” offer of $1,400,000, Ahmed

instead kept all of the stolen funds. Again, as with the Attack on the Crypto Exchange, he engaged

in a sophisticated series of cryptocurrency transactions to launder his stolen funds, including

through cryptocurrency mixers such as Samourai Whirlpool. As a result, Nirvana shut down all

operations shortly after Ahmed’s attack on the exchange.

       Victim Impact. Among the most serious aspects of Ahmed’s conduct is the harm he

caused to his victims, who have not been truly made whole by Ahmed’s restitution payments. Not

even close. Ahmed’s victims have incurred financial, reputational, and incalculable emotional

trauma that continues to this day. Users of the Crypto Exchange and Nirvana lost their deposited

cryptocurrency when Ahmed hacked the exchanges and, while some have received and others will

receive cryptocurrency as restitution, many users lost their right to control their assets as they saw

fit as they still await, over a-year-and-a-half later, the return of significant portions of their

cryptocurrency.

       The operators of the Crypto Exchange and Nirvana have also been falsely accused of

having committed the crimes themselves as alleged in-house perpetrators. As part of sentencing,

they have given statements recounting this and additional harms that Ahmed caused them, which

statements are attached to this submission as Exhibits A through C. Together, the victim

statements provide the Court with powerful evidence of the serious and lasting harm of Ahmed’s

crimes and the need to justly punish him. The Government highlights portions of the victim

statements below.


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         As the Crypto Exchange notes in its victim impact statement, which the U.S. Probation

Office did not have the benefit of reviewing before finalizing the PSR, “[a]part from direct losses”

incurred by the Crypto Exchange, “there are many other losses and impacts that we suffered. Many

of them are hard to be evaluated quantitatively.” (Ex. A). “Firstly, in order to remediate the effect,

we developed a series of follow-up smart contracts to ensure the remaining liquidity can be safely

claimed back by our users. The audit cost for these new smart contracts is $84,000.” (Id.).

Additionally, “[t]he labor cost of new version development and maintenance is hard to calculate

already but is definitely no less than $200,000.” (Id.).

         The Crypto Exchange also points to the profound, nearly existential drop in its “total value

locked” or “TVL,” which is the reduction in assets staked on the Crypto Exchange’s blockchain

network. As it writes,

         Secondly, the TVL on [the Crypto Exchange] dropped by more than 95% since the
         incident, which is an approximately $10M value escape. The price of our
         governance token has been dropping continually after the incident. The token price
         before the incident was around $0.12 but now it is about $0.003 and also lacks
         enough liquidity. This has caused huge losses to both our investors and our team.
         All these are inevitable and are devastating to our project.
(Id.).

         The Crypto Exchange also invokes the damaging reputational and privacy impact of

Ahmed’s crime on its team members, noting that

         this incident has also had a huge negative impact on the reputation of our team and
         the privacy rights of our team members. We are also facing increasing difficulty
         communicating with venture capitals and other investors in this industry. These
         things may affect our career and life for a very long time. The losses and harm it
         brought to us are immeasurable.

(Id.).

         As for the direct losses of Ahmed’s Attack on the Crypto Exchange, it should be noted that,


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after the Attack, the Crypto Exchange initiated a plan to compensate the users Ahmed had

victimized whereby the Crypto Exchange bore the bulk of the loses caused by the Attack and paid

users back “84% of their original funds.” (Id.). As for the remaining 16%, because Ahmed, to

conceal his crime and launder the stolen cryptocurrency, conducted a series of token-swap

transactions exchanging the original stolen cryptocurrency for other types of cryptocurrency, the

cryptocurrency Ahmed ultimately surrendered to the Government, which the Government in turn

will provide to the Crypto Exchange to compensate the users’ outstanding losses, is less valuable

today than the original cryptocurrency Ahmed stole from the Crypto Exchange would have been

today, had he not conducted his laundering token-swap transactions.

         The Crypto Exchange concludes its letter by writing,

         Although this project has been in a state of continuous losses since the incident, our
         team has been insisting on maintaining its services till today, because we want to
         wait and strive for a proper result for all our users. We are extremely pleased that
         this case is coming to a judgement soon.

(Id.).

         As for Nirvana, it has submitted a detailed victim impact statement of its own, detailing

the various harms its team members have suffered as a result of Ahmed’s crimes. (Ex. B). It is

set forth in full below:

         As a representative of Nirvana Finance, I am writing to articulate the profound harm
         inflicted upon our users and team by [Ahmed’s] criminal actions. [Ahmed’s]
         exploitation of our platform in July 2022 through a calculated and sophisticated
         attack led to the unauthorized extraction of approximately $3.6 million. Due to our
         platform's internal leverage mechanisms, this theft represented a staggering loss of
         around $15 million in value to our community.

         This theft not only stripped our users of significant financial resources but also
         shattered their trust in both our platform and the broader decentralized finance
         ecosystem. Our community was built on principles of transparency, security, and
         mutual respect; [Ahmed’s] actions grievously undermined these core principles,
         casting a long shadow of distrust and insecurity.
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         In addition to the financial damages to Nirvana’s user base, the personal and
         financial toll on our team has been considerable during this time. The aftermath of
         the theft saw us grappling with the immediate financial repercussions of losing our
         livelihoods overnight, coupled with the daunting task of restoring our platform’s
         integrity and user confidence. In addition, in this industry, a team’s reputation is
         extremely important. Until [Ahmed’s] guilty plea proved we were not responsible,
         our team endured significant reputational damage.

         The strain of these efforts has taken a significant emotional and psychological toll
         on every member of our team, compounding the financial damage with a profound
         personal and professional impact.

         [Ahmed’s] decision to plead guilty and forfeit over $12.3 million, while a step
         towards restitution, does not alleviate the ongoing challenges faced by our users
         and team. The complete breach of trust and the destruction of our platform can
         never be rectified. The funds stolen and laundered through sophisticated means
         reflect a blatant disregard for the law and the principles upon which decentralized
         finance stands.

         We implore the court to recognize the severity of [Ahmed’s] actions and their far-
         reaching consequences on innocent individuals who placed their trust in Nirvana
         Finance. We feel that the sentencing should reflect the gravity of the harm inflicted
         upon our community and serve as a deterrent to prevent similar attacks on the
         integrity of digital finance.

(Id.).

         Nirvana expressed similar sentiments in an email to the Government the day after Ahmed’s

guilty plea when it wrote, “I know this is a landmark case since you’re really setting a precedent

here. It’s been a very rough 16 months for the team since the hack as we’ve been repeatedly

accused and threatened so this was a huge weight off of our shoulders.” (Ex. C).

         In light of the harms experienced by Ahmed’s victims—including the collapse of their

businesses, financial losses, loss of trust, false accusations of in-house theft, shattered reputations,

damaged psyches, and derailed careers—a sentence of 48 months is necessary to reflect the

seriousness of the offense and to provide just punishment.

         Specific deterrence. Specific deterrence and the need to promote respect for the law also
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militate in favor of a sentence of 48 months. As noted above, Ahmed committed not one but two

distinct, significant, and ruinous hacks. And far from a one-click, one-time fraud, for about a year

until he was caught, Ahmed tried to conceal the two widely publicized and scrutinized hacks he

had carried out. Again, both hacks required detailed planning, technical expertise, a willingness

to defraud, and coercive communications with his victims trying to survive and prevent a run on

their businesses.

       Nor was there any need or justification for Ahmed to turn to fraud. At the time of his

crimes, Ahmed was a well-educated and well-compensated senior security engineer in a committed

relationship. (PSR ¶¶ 76, 90-108). At the time of his over $12.3 million crimes, Ahmed was

earning over $400,000 per year as a senior security engineer at Amazon. (PSR ¶¶ 92, 93). For tax

years 2020, 2021, and 2022, he earned total income, respectively, of $486,619, $489,413, and

$388,325. (PSR ¶ 107). His crimes thus appear to have been motivated by greed and perhaps

misguided confidence that he would not get caught. While the Court should of course consider

Ahmed’s mental health and familial struggles discussed in the PSR, it is sadly true that defendants

with comparable and seemingly far more difficult backgrounds, are regularly sentenced to lengthy

terms of imprisonment in this District. In short, there was absolutely no need or justification for

Ahmed to turn to crime.

       In light of the severity, duration, and breadth of his conduct, coupled with the lack of any

need or justification for Ahmed’s crimes, specific deterrence and the need to promote respect for

the law also weigh in favor of a substantial incarceratory sentence.

       General deterrence. The need for general deterrence is quite acute in this case, given how

prevalent and lucrative cyber frauds—and especially cryptocurrency and DeFi hacks—are and


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how difficult they are to detect and prosecute. With respect to prevalence of DeFi hacks, public

reporting indicates that DeFi exploits caused a staggering $53.5 billion in losses in 2022 and over

$1.3 billion in losses in 2023. 3

        One of the paramount factors that the Court must consider in imposing sentence under

Section 3553(a) is the need for the sentence to “afford adequate deterrence to criminal conduct.”

18 U.S.C. § 3553(a)(2)(B). Courts have generally recognized that “white collar crime . . . requires

heavy sentences to deter because it is potentially very lucrative.” United States v. Hauptman, 111

F.3d 48, 52 (7th Cir. 1997); see also Harmelin v. Michigan, 501 U.S. 957, 988 (1991) (noting that

“since deterrent effect depends not only upon the amount of the penalty but upon its certainty,

crimes that are less grave but significantly more difficult to detect may warrant substantially higher

penalties”). “Because economic and fraud-based crimes are more rational, cool, and calculated

than sudden crimes of passion or opportunity, these crimes are prime candidates for general

deterrence.” United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (internal quotation

omitted). “Defendants in white collar crimes often calculate the financial gain and risk of loss,

and white collar crime therefore can be affected and reduced with serious punishment.” Id.; see

also United States v. Goffer, 721 F.3d 113, 132 (2d Cir. 2013) (noting district court’s comments

during an insider trading sentencing that defendant made a “deliberate decision, weighing the risks,

that insider trading ‘was a game worth playing’” and characterizing “district court’s assertion that



3
  See, e.g., Jeff Owens, DeFi Has a Risk Problem and It’s Time to Solve It, CoinDesk, Dec. 20,
2023, https://www.coindesk.com/consensus-magazine/2023/12/20/defi-has-a-risk-problem-and-
its-time-to-solve-it/; Bessie Liu, The 5 biggest DeFi hacks of 2023, Blockworks, Dec. 22, 2023,
https://blockworks.co/news/biggest-defi-hacks-2023; see also Zeke Faux, Number Go Up 102
(2023) (estimating that in 2021 a total of $3.2 billion in cryptocurrency was stolen from exchanges
and decentralized finance apps).

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insider trading requires high sentences to alter that calculus” as “a Congressionally-approved

example of giving meaning to the 18 U.S.C. § 3553(a) factors”); United States v. Heffernan, 43

F.3d 1144, 1149 (7th Cir. 1994) (“Considerations of (general) deterrence argue for punishing more

heavily those offenses that either are lucrative or are difficult to detect and punish, since both

attributes go to increase the expected benefits of a crime and hence the punishment required to

deter it.”).

        This is particularly so in the case of sophisticated, profitable cryptocurrency thefts like the

DeFi hacks here. These types of crimes are pernicious and lucrative: they are extremely enriching

to their perpetrators and yet inherently difficult for law enforcement to detect and stop. As the

enormous numbers above reveal, it has, unfortunately, become far too easy for cyber-criminals

like Ahmed to target and victimize DeFi exchanges from behind computer screens, and to hide

their crimes through a web of concealment-focused transactions, mixers, and offshore

cryptocurrency exchanges. This Court’s sentence of Ahmed—the first-ever sentencing for the

hack of a smart contract, which appears likely to be closely monitored by participants in the DeFi

ecosystem—should send a strong and clear message to others that sophisticated hacks, particularly

ones as crushing to victims as were Ahmed’s crimes, will be met with serious consequences.

        Unwarranted sentencing disparities. Finally, a sentence of 48 months is appropriate to

avoid creating an unwarranted sentencing disparity. As the Second Circuit has explained, “we

have repeatedly made clear that ‘section 3553(a)(6) requires a district court to consider nationwide

sentence disparities, but does not require a district court to consider disparities between co-

defendants.’” United States v. Ghailani, 733 F.3d 29, 55 (2d Cir. 2013) (quoting United States v.

Frias, 521 F.3d 229, 236 (2d Cir. 2008)). Here, the PSR’s summary of the U.S. Sentencing


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Commission’s Judiciary Sentencing Information data, which analyzed the sentences imposed on

the 164 defendants with the same final offense level, 27, and Criminal History Category, I, as

Ahmed over the last five fiscal years (FY2018-2022), indicates that the average sentence imposed

was 51 months and the median sentence imposed was 48 months. (PSR 30-31). Accordingly,

based on Ahmed’s conduct and the sentences imposed over the last five fiscal years on the 164

defendants with the same final offense level and Criminal History Category as Ahmed, to sentence

Ahmed below 48 months would risk creating an unwarranted sentencing disparity.




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                                    III.    CONCLUSION

       On the facts here, a slightly downward variance sentence of 48 months would be

appropriate and just. Such a sentence would appropriately credit Ahmed for surrendering to the

Government access to his crime proceeds and recognize his acceptance of responsibility. At the

same time, the requested period of incarceration would recognize the lasting harm he has inflicted

and continues to inflict on his victims, avoid minimizing the seriousness of Ahmed’s multiple,

sophisticated crimes, and send a message to would-be cyber criminals that meaningful time in

prison—and not merely being asked to part with their ill-gotten gains—is the likely consequence

of such aggravated criminal conduct.

Dated: New York, New York
       April 1, 2024
                                                     Respectfully submitted,


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